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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

VICTIM RIGHTS LAW CENTER, et al.             )
                                             )
       Plaintiffs,                           )
                                             )
       v.                                    )      Case No. 1:20-cv-11104-WGY
                                             )
MITCHELL M. ZAIS, in his official            )
Capacity as Acting Secretary of              )
Education et al.,                            )
                                             )
       Defendants.                           )
                                             )


                       NOTICE OF WITHDRAWAL OF COUNSEL

       Undersigned counsel, Jennifer B. Dickey, hereby withdraws her appearance on behalf of

Defendants in the above-captioned case. Ms. Dickey is leaving the Department of Justice on

January 15, 2021, and will no longer have responsibility for this case. Defendants will continue

to be represented by other attorneys at the Department of Justice whose names appear in the

Government’s pleadings and briefs in this matter.



Dated: January 11, 2021                      Respectfully submitted,

                                             JEFFREY BOSSERT CLARK
                                             Acting Assistant Attorney General

                                             CARLOTTA P. WELLS
                                             Assistant Branch Director
                                             Federal Programs Branch

                                             /s/ Jennifer B. Dickey

                                             Jennifer B. Dickey (D.C. Bar No. 1017247)
                                             Principal Deputy Assistant Attorney General
                                             United States Department of Justice
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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to all participants through the Court’s NEF system.



                                                     /s/ Jennifer B. Dickey
                                                     Jennifer B. Dickey
